Case 2:21-cv-00131-JDL Document 3-6 Filed 05/14/21 Pagelof2 PagelD #: 87

SUBORDINATION AGREEMENT

This Agreement is entered into by SACO & BIDDEFORD SAVINGS INSTITUTION, a
Maine banking corporation with a place of business in Saco, Maine ("SBSI") for the benefit of the
TIMOTHY NORTON, TRUSTEE of the 150 Pleasant Hill Road Trust w/t/a dated as of
Arm 2 ua , 2021, or its assigns (the “Maietta Trust”).

 

WITNESSETH:

WHEREAS, VINCENT A. MAIETTA, TRUSTEE of THE PLEASANT HILL TRUST I
a/k/a THE PLEASANT HILL TRUST w/d/t dated November 7, 1994, as amended, a Maine trust
with a place of business in South Portland, Maine (the “Trust"), is the owner in fee of certain
premises situated at 21 Maietta Drive, Scarborough, Cumberland County, Maine (the “Premises”);
and

WHEREAS, SBSI is the holder of a certain Promissory Note from the Trust in the original
principal amount of $875,000.00, secured by a Mortgage Deed, Security Agreement & Financing
Statement and Collateral Assignment of Leases and Rentals ("SBSI Mortgage and SBSI Collateral
Assignment") given by the Trust to SBSI, and covering the Premises and another property located at
16 Maietta Drive, Scarborough, Cumberland County, Maine, said Mortgage and Collateral
Assignment being dated May 3, 2019 and recorded in the Cumberland County Registry of Deeds in
Book 35628, Page 188, and in Book 35628, Page 210; and,

WHEREAS, the Trust, or an affiliated entity of the Trust, is being required by the United
States of America, on behalf of the U.S. Environmental Protection Agency (the “EPA”), to restore
certain wetlands on a parcel of land near the Premises and the EPA is requiring that the Trust
provide it with some mortgage collateral to serve as a surety associated with said restoration work
and the EPA has agreed to accept the Premises as mortgage collateral on the Premises ("EPA
Mortgage") in the amount of $950,000.00, provided that the EPA Mortgage is in the first priority
position on the Premises; and,

WHEREAS, SBSI hereby acknowledges that it will benefit the Trust to permit the EPA to
have a first priority Mortgage interest in the Premises, thus SBSI is willing to subordinate its SBSI
Mortgage and SBSI Collateral Assignment interest in the Premises only to the EPA Mortgage,
subject to the terms and conditions hereinafter set forth;

NOW THEREFORE, SBSI agrees as follows:

1. SBSI hereby subordinates all indebtedness now or hereafter secured by the SBSI
Mortgage and SBSI Collateral Assignment referenced above only as to SBSI’s interest in the
Premises to the lien of the EPA Mortgage hereinafter to be conveyed by the Trust to the Maietta
Trust in the amount of $950,000.00 encumbering the Premises, which EPA Mortgage will be
recorded in the Cumberland County Registry of Deeds. Said EPA Mortgage from the Trust to the
Maietta Trust will only secure an obligation in a principal amount not to exceed $950,000.00, plus
interest and costs, together with any advances required to protect the Premises.
Case 2:21-cv-00131-JDL Document 3-6 Filed 05/14/21 Page2of2 PagelD #: 88

2. This Subordination does not include a subordination of SBSI’s first mortgage interest
in the property located at 16 Maietta Drive in Scarborough, Maine which mortgage and collateral
assignment interest in 16 Maietta Drive will continue to be a first priority mortgage and collateral
assignment.

3. SBSI hereby agrees that this Subordination Agreement benefits the EPA and its
successors and assigns.

4. The declaration by SBSI of an event of default under the SBSI Mortgage and SBSI
Collateral Assignment shall not automatically constitute an event of default under the EPA Mortgage
or that certain Consent Decree in the matter of U.S. v. Maietta Construction, Inc., et al., executed by
the EPA, as Plaintiff, and Maietta Construction, Inc. and Maietta Enterprises, Inc., as Defendants.
Upon the occurrence of any event of default under the SBSI Mortgage and SBSI Collateral
Assignment, if SBSI shall elect to foreclose the SBSI Mortgage and SBSI Collateral Assignment,
SBSI shall first provide written notice to the Maietta Trust and the EPA of its election to foreclose,
and thereafter the first $950,000.00 of the cash proceeds of the sale of the Premises (plus interest and
costs, together with any advances required to protect the Premises) shall be paid to the Maietta Trust
as the first priority lienholder.

IN WITNESS WHEREOF, the said SACO & BIDDEFORD SAVINGS INSTITUTION A
has caused this instrument to be signed and sealed by James M. Whelan, its Vice President, this <7

day of Ao! , 2021.

Witness: SACO & BIDDEFORD SAVINGS

YD 2 INSTITUTION

f ye a A) oy
7 g a Lf ~—— Byjfh—> [A ’ YA —~

 

 

James M. Whelan
\ ts: Vice President

A

STATE OF MAINE by - ff ..
CUMBERLAND, ss. Spat 7) _,2021
Personally appeared before me the above-named James M. Whelan, Vice President of Saco

& Biddeford Savings Institution, and acknowledged the foregoing instrument to be his free act and
deed, in his said capacity, and the free act and deed of said Saco & Biddeford Savings Institution.

Nofary Public | ve
‘Pfint Name: nN Gomeoite

My Commission Expires: D2c 2, 2 O2|

SARAH A. GONNEVILLE
NOTARY PUBLIC
State of Maine |

My Commission Expires
December 2, 2021
